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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO.___________________

 CERTAIN UNDERWRITERS SUBSCRIBING
 TO POLICY NUMBERS OMH-3484819, OBR
 10014587201, B5JH85661, VCF2002512, and
 AT4769A20MZA as subrogee of NORTHLINE
 SEAFOODS LLC,

         Plaintiffs,

 vs.

 BLUE OCEAN TACKLE, INC., a dissolved
 foreign profit corporation; BLUE OCEAN
 MARINE EQUIPMENT, LLC, a Florida limited
 liability company, as successor-in-interest;
 VERONICA C. BARRETT, individually; and
 STEPHANIE C. GUTIERREZ, individually,

       Defendants.
 _______________________________________/

                                            COMPLAINT

         Plaintiffs, CERTAIN UNDERWRITERS SUBSCRIBING TO POLICY NUMBERS

 OMH-3484819, OBR 10014587201, B5JH85661, VCF2002512, and AT4769A20MZA, as

 subrogee     of    NORTHLINE       SEAFOODS       LLC    (hereinafter,   collectively,   “CERTAIN

 UNDERWRITERS”), by and through undersigned counsel, sue the Defendants, BLUE OCEAN

 TACKLE, INC., BLUE OCEAN MARINE EQUIPMENT, LLC, VERONICA C. BARRETT, and

 STEPHANIE C. GUTIERREZ, and state as follows:

                                         Jurisdiction and Venue

         1.        This is an action for damages in excess of $9,139,517.30 (Nine Million One

 Hundred Thirty-Nine Thousand Five Hundred Seventeen Dollars and Thirty Cents), exclusive of

 interest, costs, and attorney’s fees.
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        2.      This Court has diversity jurisdiction pursuant to 28 U.S. Code § 1332 based upon

 diversity of citizenship and Admiralty jurisdiction pursuant to 28 U.S. Code § 1333. Specifically,

 the Defendants, BLUE OCEAN TACKLE, INC., BLUE OCEAN MARINE EQUIPMENT, LLC,

 VERONICA C. BARRETT, and STEPHANIE C. GUTIERREZ, reside in the State of Florida; and

 the insurance entities which comprise Plaintiffs, CERTAIN UNDERWRITERS, reside outside of

 the State of Florida as stated in more detail below:

             a) Great American Insurance Company was and is incorporated in Ohio, with its

                principal address at 301 E. 4th Street, Cincinnati, Ohio 45202;

             b) Endurance American Insurance Company was and is incorporated in Delaware,

                with its principal address at 4 Manhattanville Road, Purchase, NY 10577;

             c) Atlantic Specialty Insurance Company was and is incorporated in NY, with its

                principal place address at 605 Highway 169 North, Suite 800, Plymouth, MN

                55441;

             d) Stratford Insurance Company was and is incorporated in New Hampshire, with its

                principal address at 300 Kimball Drive, Suite 500, Parsippany, NJ 07054; and

             e) Starstone National Insurance Company was and is incorporated in Delaware, with

                its principal address at 201 E. Fifth Street, Suite 1200, Cincinnati, Ohio 45202.

        3.      Venue is proper pursuant to 28 U.S. Code § 1391 as the Defendants, BLUE

 OCEAN TACKLE, INC., BLUE OCEAN MARINE EQUIPMENT, LLC, VERONICA C.

 BARRETT, and STEPHANIE C. GUTIERREZ reside in the Southern District of Florida.

                                               Parties

        4.      At all material times, Plaintiffs, CERTAIN UNDERWRITERS, are compromised

 of the following insurance entities who provided insurance coverage to Northline Seafoods, Inc.,



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 pursuant to certain policies of insurance numbered OMH-3484819, OBR 10014587201,

 B5JH85661, VCF2002512, and AT4769A20MZA, and who reside outside of the State of Florida

 and are not citizens of the State of Florida:

             a) Great American Insurance Company was and is incorporated in Ohio, with its

                principal address at 301 E. 4th Street, Cincinnati, Ohio 45202;

             b) Endurance American Insurance Company was and is incorporated in Delaware,

                with its principal address at 4 Manhattanville Road, Purchase, NY 10577;

             c) Atlantic Specialty Insurance Company was and is incorporated in NY, with its

                principal place address at 605 Highway 169 North, Suite 800, Plymouth, MN

                55441;

             d) Stratford Insurance Company was and is incorporated in New Hampshire, with its

                principal address at 300 Kimball Drive, Suite 500, Parsippany, NJ 07054; and

             e) Starstone National Insurance Company was and is incorporated in Delaware, with

                its principal address at 201 E. Fifth Street, Suite 1200, Cincinnati, Ohio 45202.

        5.      At all material times, Plaintiffs, CERTAIN UNDERWRITERS, were and are

 authorized to transact business and transacted business in Alaska.

        6.      At all material times, Plaintiffs, CERTAIN UNDERWRITERS, were and are in the

 business of providing marine, property, casualty, and business loss insurance to individuals and

 businesses located in the State of Alaska and elsewhere.

        7.      At all material times, Plaintiffs, CERTAIN UNDERWRITERS, in exchange for

 valuable consideration, provided insurance coverage to Northline Seafoods, Inc., pursuant to

 certain policies of insurance numbered OMH-3484819, OBR 10014587201, B5JH85661,

 VCF2002512, and AT4769A20MZA.



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        8.      At all material times, Northline Seafoods, LLC (“Northline”), was an Alaskan

 Limited Liability Company, with a principal address of 4690 Sawmill Creek Road, Sitka, Alaska

 99835. Northline was dissolved on or about December 27, 2021.

        9.      At all material times Defendant, BLUE OCEAN TACKLE, INC., was a foreign

 California for profit corporation, with a principal address of 5645 Coral Ridge Drive, #126, Coral

 Springs, FL 33076.

        10.     Defendant, BLUE OCEAN TACKLE, INC., was formed in Florida by Mark Barrett

 in 2016.

        11.     Upon information and belief, Mark Barrett was married to Defendant, VERONICA

 C. BARRETT.

        12.     Unfortunately, upon information and belief, Mark Barrett passed away on or around

 September 14, 2020. See, Exhibit 8.

        13.     Upon information and belief, Mark Barrett and Defendant, VERONICA C.

 BARRETT, resided together at 11330 Fairfield St., Parkland, FL 33076, and Defendant,

 VERONICA C. BARRETT, currently resides at 11330 Fairfield St., Parkland, FL 33076.

        14.     On November 17, 2020, Defendant, BLUE OCEAN TACKLE, INC., was

 voluntarily dissolved. The Articles of Dissolution for Defendant, BLUE OCEAN TACKLE, INC.,

 were electronically signed by Mark Barrett, who, upon information and belief, died on or about

 September 14, 2020. See, Exhibit 9.

        15.     On November 17, 2020, Defendant, BLUE OCEAN MARINE EQUIPMENT,

 LLC, was formed, with an effective date of November 16, 2020.




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        16.       At all material times, Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC,

 is a Florida limited liability company, with a principal address of 20423 SR 7, Suite 151, Boca

 Raton, FL 33498.

        17.       Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, was formed by

 Defendant, VERONICA C. BARRETT, who was listed as its manager in its Articles of

 Organization.

        18.       On or about April 8, 2021, Defendant, STEPHANIE C. GUTIERREZ, was listed

 as the EVP of Defendant, BLUE OCEAN MARINE EQUIPMENT LLC, and Defendant,

 VERONICA C. BARRETT, was not listed on the company’s annual reports for 2021 or 2022.

        19.       Upon information and belief, Defendant, STEPHANIE C. GUTIERREZ, resides at

 416 SW 1st Ave., Apt. 602, Ft. Lauderdale, FL 33301.

        20.       The website address for Defendant, BLUE OCEAN TACKLE, INC, is

 http://www.blueoceantackle.com. Typing in that address directs the user to the website for

 Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC. See, Exhibit 1.

        21.       A comparison of the website for www.blueoceantackle.com from or around July 3,

 2020, using the Wayback Machine shows that both websites are substantially the same, including:

                 Both feature a photograph at the top of their home pages that states: “YOUR #1

                  SOURCE for Marine Supply” with Blue Ocean Tackle, Inc. including the

                  additional words “for Fishing & Marine Supply”;

                 Both include similar descriptions under the photograph on their home pages for

                  Marine Supply, Workboat Equipment, Ship Hardware, Offshore Oil Equipment,

                  and Ship Launching Air Bags in the same order with Blue Ocean Tackle, Inc.




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                   adding Saltwater Fishing Tackle, Commercial Fishing Supply, Shark Fishing

                   Equipment, and Big Game Trolling Gear; and

                  Both include the following descriptions on their home pages:

                          Blue Ocean Tackle Inc
                          “A Veteran Owned Small Business”
                          Blue Ocean Tackle Inc supplies marine equipment, ship hardware,
                          and commercial fishing equipment. We offer a full line of anchors,
                          chain, Yokohama pneumatic fenders and foam filled fenders such as
                          the Ocean Guard and Ocean Cushions. We supply ship salvage
                          airbags and ship launching airbags. Our commercial fishing
                          equipment includes electric and hydraulic bottom fishing reels and
                          pot haulers. We offer a full line of marine hardware that includes
                          pelican hook chain stoppers, buoy hooks, stud link anchor chain,
                          mooring chain, shackles, swivels, Kenter links, wire rope, custom
                          rigging, and more.

                          Blue Ocean Marine Equipment
                          “A Veteran Widow Owned Small Business”
                          Blue Ocean Marine Equipment supplies marine equipment, ship
                          hardware, and commercial fishing equipment. We offer a full line of
                          anchors, chain, Yokohama pneumatic fenders and foam filled
                          fenders such as the Ocean Guard and Ocean Cushions. We supply
                          ship salvage airbags and ship launching airbags. We offer a full line
                          of marine hardware that includes buoy hooks, stud link anchor
                          chain, mooring chain, shackles, swivels, Kenter links, wire rope,
                          custom rigging, and more.

 See, Exhibit 2.

        22.        In addition, Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, appears to

 sell the same buoys as the subject buoy of this matter. See, Exhibit 3.

        23.        Upon information and belief, Defendant, BLUE OCEAN MARINE EQUIPMENT,

 LLC, is the successor-in-interest for Defendant, BLUE OCEAN TACKLE, INC., by being a

 continuation for Defendant, BLUE OCEAN TACKLE, INC., including the purchase or acquisition

 of the assets of Defendant, BLUE OCEAN TACKLE, INC.




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                                         General Allegations

         24.    On or about March 5, 2019, Northline purchased a buoy (and associated equipment)

 from Defendant, BLUE OCEAN TACKLE INC. The buoy was a 58-inch steel round mooring

 buoy, foam-filled, with pad eyes (the “Buoy”). See, Invoice attached as Exhibit 4.

         25.    The manufacturer of the Buoy is currently unknown.

         26.    The Buoy was used in the waters offshore of the Village of Ekuk, Alaska.

         27.    Barge SM3 (Official No. 505535) was a 1966 fishing tender barge used by

 Northline (the “Barge”).

         28.    On or about August 30, 2020, the Barge was moored to the Buoy south of the village

 of Ekuk, Alaska.

         29.    At all material times, there were six individuals on board the Barge.

         30.    While moored to the Buoy, a storm arose with heavy winds and sea conditions.

         31.    During the storm, the Barge separated at the top shell plate of the Buoy and began

 drifting.

         32.    The Barge eventually grounded on a nearby beach at or around Flounder Flat,

 causing a 3-mile debris field and 100 gallons diesel spill.

         33.    As a result, the Barge was a constructive total loss.

         34.    Thankfully, the six individuals on board the Barge were unharmed.

         35.    The Barge was later salvaged by Global Diving & Salvage, Inc.

         36.    On January 14, 2021, Simon Forensic, LLC issued a report on its findings regarding

 the cause of the loss of the Barge (“Simon Forensic Report”). See, Exhibit 5.

         37.    The Simon Forensic Report noted:

                The buoy has functionally failed, i.e. a separating crack had formed at the
                fillet weld of the topside padeye thus allowing the separation (liberation) of
                the padeye from the buoy.

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                The topside padeye (buoy) was structurally compromised at the time of the
                incident, i.e. a small fatigue crack had been present thus providing a
                mechanical stress riser.

                No metallurgical or welding related defects related to the padeye failure were
                found to have caused or contributed to the failure.

 See, Exhibit 5 at pg. 4 (emphasis in original).

        38.     The Simon Forensic Report also noted that the shackles did not fail.

        39.     On June 4, 2021, Alaska Marine Surveyors, Inc. issued a Third Supplemental

 Damage Report (“AMS Damage Report”). See, Exhibit 6.

        40.     The AMS Damage Report noted: “The Buoy Ball was not manufactured with an

 internal rod backing support, connecting and between the upper/lower padeyes, which load rod

 connect would be necessary for the type of loads expected for the Barge SM3 to utilize for moorage

 purposes…As previously discussed in AMS, Inc’s 2nd Supplemental Damage Report, dated

 February 3, 2021 and previously submitted, under ‘Comments,’ the Buoy Ball construction

 appears reversed for load strength for an at-sea moorage buoy of its size, and appearance, as

 capable for heavy loads and even without the inner padeye upper/lower reinforcement connect rod,

 the Ball shell thickness strength is inferior to both the padeye cap and the padeye itself, that the

 padeye load capability itself is far beyond the cap plate and shell combined.” See, Exhibit 6 at pg.

 2.

        41.     Thus, the Buoy was structurally compromised before the storm event.

        42.     The damages from the loss total $6.9 million for the constructive total loss of the

 Barge, less $15,000 recovered for salvage value, and $2,254,517.30 for wreck removal and

 associated pollution mitigation for a total of $9,139,517.30 (Nine Million One Hundred Thirty-

 Nine Thousand Five Hundred Seventeen Dollars and Thirty Cents).

        43.     Northline reported the claim to CERTAIN UNDERWRITERS, and CERTAIN

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 UNDERWRITERS have paid the claim. As a result of the payments made by CERTAIN

 UNDERWRITERS under the applicable policy of insurance, CERTAIN UNDERWRITERS have

 become subrogated to the rights of Northline to the extent of all payments made. See, Exhibit 7,

 Payment Order.

        44.     All conditions precedent have occurred, been performed, or been waived.

                                  COUNT I - PRODUCT DEFECT
                                  (BLUE OCEAN TACKLE, INC.)

        45.     Plaintiffs, CERTAIN UNDERWRITERS, reincorporate and reallege paragraphs 1

 – 44 as though fully set forth herein.

        46.     Defendant, BLUE OCEAN TACKLE, INC., sold, supplied, distributed, warranted,

 marketed, packaged, and/or sold the Buoy.

        47.     Defendant, BLUE OCEAN TACKLE, INC., had a duty to deliver to Northline a

 Buoy that was free of defects and that would perform as warranted.

        48.     Defendant, BLUE OCEAN TACKLE, INC., breached that duty in that the Buoy

 was defective, structurally compromised, had inferior shell thickness, and did not have an internal

 rod backing support, at the time it was delivered, which led to a separating crack that caused the

 Barge to break free from the Buoy during the storm.

        49.     The Buoy failed during a storm event with estimated wind speeds of 43 to 52 knots,

 which should not have been out of the range of the Buoy’s capabilities.

        50.     As a result, the Barge was a total loss.

        51.     Plaintiffs, CERTAIN UNDERWRITERS, have been damaged in the amount of 6.9

 million dollars for the constructive total loss of the Barge, less $15,000 recovered for salvage

 value, and $2,254,517.30 for wreck removal and associated pollution mitigation for a total of

 $9,139,517.30 (Nine Million One Hundred Thirty-Nine Thousand Five Hundred Seventeen

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  Dollars and Thirty Cents).

           WHEREFORE, Plaintiffs, CERTAIN UNDERWRITERS SUBSCRIBING TO POLICY

  NUMBERS         OMH-3484819,        OBR     10014587201,      B5JH85661,      VCF2002512,       and

  AT4769A20MZA, as subrogee of NORTHLINE SEAFOODS LLC, demand judgment against

  Defendant, BLUE OCEAN TACKLE, INC., in the amount of $9,139,517.30 (Nine Million One

  Hundred Thirty-Nine Thousand Five Hundred Seventeen Dollars and Thirty Cents), plus pre and

  post-judgment interest, and its Court costs, and for all other relief deemed proper and just by this

  Court.

                                COUNT II - PRODUCT DEFECT
                           (BLUE OCEAN MARINE EQUIPMENT, LLC)

           52.   Plaintiffs, CERTAIN UNDERWRITERS, reincorporate and reallege paragraphs 1

  – 44 as though fully set forth herein.

           53.   Defendant, BLUE OCEAN TACKLE, INC., sold, supplied, distributed, warranted,

  marketed, packaged, and/or sold the Buoy.

           54.   Defendant, BLUE OCEAN TACKLE, INC., had a duty to deliver to Northline a

  Buoy that was free of defects and that would perform as warranted.

           55.   Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, is the successor-in-

  interest to Defendant, BLUE OCEAN TACKLE, INC., by virtue of being a mere continuation

  after the death of Mark Barrett, and through the purchase and/or acquisition of the assets of

  Defendant, BLUE OCEAN TACKLE, INC., by Defendant, BLUE OCEAN MARINE

  EQUIPMENT, LLC.

           56.   Defendant, BLUE OCEAN TACKLE, INC., breached that duty in that the Buoy

  was defective, structurally compromised, had inferior shell thickness, and did not have an internal

  rod backing support, at the time it was delivered, which led to a separating crack that caused the

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  Barge to break free from the Buoy during the storm.

         57.     The Buoy failed during a storm event with estimated wind speeds of 43 to 52 knots,

  which should not have been out of the range of the Buoy’s capabilities.

         58.     As a result, the Barge was a total loss.

         59.     Plaintiffs, CERTAIN UNDERWRITERS, have been damaged in the amount of 6.9

  million dollars for the constructive total loss of the Barge, less $15,000 recovered for salvage

  value, and $2,254,517.30 for wreck removal and associated pollution mitigation for a total of

  $9,139,517.30 (Nine Million One Hundred Thirty-Nine Thousand Five Hundred Seventeen

  Dollars and Thirty Cents).

         WHEREFORE, Plaintiffs, CERTAIN UNDERWRITERS SUBSCRIBING TO POLICY

  NUMBERS         OMH-3484819,        OBR     10014587201,      B5JH85661,      VCF2002512,       and

  AT4769A20MZA, as subrogee of NORTHLINE SEAFOODS LLC, demand judgment against

  Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, in the amount of $9,139,517.30 (Nine

  Million One Hundred Thirty-Nine Thousand Five Hundred Seventeen Dollars and Thirty Cents),

  plus pre and post-judgment interest, and its Court costs, and for all other relief deemed proper and

  just by this Court.

                                     COUNT III – NEGLIGENCE
                                   (BLUE OCEAN TACKLE, INC.)

         60.     Plaintiffs, CERTAIN UNDERWRITERS, reincorporate and reallege paragraphs 1

  – 44 as though fully set forth herein.

         61.     Defendant, BLUE OCEAN TACKLE, INC., sold, supplied, distributed, warranted,

  marketed, packaged, and/or sold the Buoy.

         62.     Defendant, BLUE OCEAN TACKLE, INC., had a duty to deliver to Northline a

  Buoy that was free of defects and that would perform as warranted.

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           63.   Defendant, BLUE OCEAN TACKLE, INC., breached that duty in that the Buoy

  was defective, structurally compromised, had inferior shell thickness, and did not have an internal

  rod backing support, at the time it was delivered, which led to a separating crack that caused the

  Barge to break free from the Buoy during the storm.

           64.   The Buoy failed during a storm event with estimated wind speeds of 43 to 52 knots,

  which should not have been out of the range of the Buoy’s capabilities.

           65.   As a result, the Barge was a total loss.

           66.   Defendant, BLUE OCEAN TACKLE, INC., knew or should have known that the

  Buoy was structurally compromised at the time it was supplied to Northline.

           67.   Plaintiffs, CERTAIN UNDERWRITERS, as subrogee of NORTHLINE

  SEAFOODS LLC has been damaged in the amount of 6.9 million dollars for the constructive total

  loss of the Barge, less $15,000 recovered for salvage value, and $2,254,517.30 for wreck removal

  and associated pollution mitigation for a total of $9,139,517.30 (Nine Million One Hundred Thirty-

  Nine Thousand Five Hundred Seventeen Dollars and Thirty Cents).

           WHEREFORE, Plaintiffs, CERTAIN UNDERWRITERS SUBSCRIBING TO POLICY

  NUMBERS        OMH-3484819,        OBR      10014587201,      B5JH85661,      VCF2002512,       and

  AT4769A20MZA, as subrogee of NORTHLINE SEAFOODS LLC, demand judgment against

  Defendant, BLUE OCEAN TACKLE, INC., in the amount of $9,139,517.30 (Nine Million One

  Hundred Thirty-Nine Thousand Five Hundred Seventeen Dollars and Thirty Cents), plus pre and

  post-judgment interest, and its Court costs, and for all other relief deemed proper and just by this

  Court.

                                 COUNT IV - NEGLIGENCE
                          (BLUE OCEAN MARINE EQUIPMENT, LLC)

           68.   Plaintiffs, CERTAIN UNDERWRITERS, reincorporate and reallege paragraphs 1

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  – 44 as though fully set forth herein.

         69.     Defendant, BLUE OCEAN TACKLE, INC., sold, supplied, distributed, warranted,

  marketed, packaged, and/or sold the Buoy.

         70.     Defendant, BLUE OCEAN TACKLE, INC., had a duty to deliver to Northline a

  Buoy that was free of defects and that would perform as warranted.

         71.     Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, is the successor-in-

  interest to Defendant, BLUE OCEAN TACKLE, INC., by virtue of being a mere continuation

  after the death of Mark Barrett, and through the purchase and/or acquisition of the assets of

  Defendant, BLUE OCEAN TACKLE, INC., by Defendant, BLUE OCEAN MARINE

  EQUIPMENT, LLC.

         72.     Defendant, BLUE OCEAN TACKLE, INC., breached that duty in that the Buoy

  was defective, structurally compromised, had inferior shell thickness, and did not have an internal

  rod backing support, at the time it was delivered, which led to a separating crack that caused the

  Barge to break free from the Buoy during the storm.

         73.     The Buoy failed during a storm event with estimated wind speeds of 43 to 52 knots,

  which should not have been out of the range of the Buoy’s capabilities.

         74.     As a result, the Barge was a total loss.

         75.     Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, knew or should have

  known that the Buoy was structurally compromised at the time it was supplied to Northline.

         76.     Plaintiffs, CERTAIN UNDERWRITERS, have been damaged in the amount of 6.9

  million dollars for the constructive total loss of the Barge, less $15,000 recovered for salvage

  value, and $2,254,517.30 for wreck removal and associated pollution mitigation for a total of

  $9,139,517.30 (Nine Million One Hundred Thirty-Nine Thousand Five Hundred Seventeen



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  Dollars and Thirty Cents).

         WHEREFORE, Plaintiffs, CERTAIN UNDERWRITERS SUBSCRIBING TO POLICY

  NUMBERS         OMH-3484819,        OBR     10014587201,      B5JH85661,       VCF2002512,       and

  AT4769A20MZA, as subrogee of NORTHLINE SEAFOODS LLC, demand judgment against

  Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, in the amount of $9,139,517.30 (Nine

  Million One Hundred Thirty-Nine Thousand Five Hundred Seventeen Dollars and Thirty Cents),

  plus pre and post-judgment interest, and its Court costs, and for all other relief deemed proper and

  just by this Court.

                                        COUNT V – FRAUD
                                     (VERONICA C. BARRETT)

         77.     Plaintiffs, CERTAIN UNDERWRITERS, reincorporate and reallege paragraphs 1

  – 44 as though fully set forth herein.

         78.     Defendant, BLUE OCEAN TACKLE, INC., was formed in Florida by Mark Barrett

  in 2016.

         79.     Defendant, VERONICA C. BARRETT, was the spouse of Mark Barrett.

         80.     Unfortunately, upon information and belief, Mark Barrett passed away on or around

  September 14, 2020. See, Exhibit 8.

         81.     On November 17, 2020, Defendant, BLUE OCEAN TACKLE, INC., was

  voluntarily dissolved.

         82.     The Articles of Dissolution state at the bottom before the signature line: “I submit

  this document and affirm that the facts stated herein are true. I am aware that any false information

  submitted in a document to the Department of State constitutes a third degree felony as provided

  for in section 817.155, Florida Statutes.” See, Exhibit 9.




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         83.     The Articles of Dissolution for Defendant, BLUE OCEAN TACKLE, INC., was

  electronically signed by Mark Barrett on November 17, 2020. See, Exhibit 9.

         84.     Mark Barrett could not have signed the Articles of Dissolution for Defendant,

  BLUE OCEAN TACKLE, INC., if he was deceased on September 14, 2020.

         85.     No documents were filed with the Secretary of State indicating that an agent or

  executor of Mark Barrett’s estate signed the Articles of Dissolution.

         86.     No documents were filed with the Secretary of State indicating that anyone other

  than Mark Barrett signed the Articles of Dissolution.

         87.     Upon information and belief, the signature of Mark Barrett on the Articles of

  Dissolution was fraudulent.

         88.     Upon information and belief, Mark Barrett’s widow, VERONICA C. BARRETT,

  signed the Articles of Dissolution and/or had knowledge that the signature on the Articles of

  Dissolution was fraudulent.

         89.     Upon information and belief, Defendant, VERONICA C. BARRETT, distributed

  the assets of Defendant, BLUE OCEAN TACKLE, INC., and formed its successor-in-interest,

  Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC.

         90.     Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, is the successor-in-

  interest to Defendant, BLUE OCEAN TACKLE, INC., by virtue of being a mere continuation

  after the death of Mark Barrett, and through the purchase and/or acquisition of the assets of

  Defendant, BLUE OCEAN TACKLE, INC., by Defendant, BLUE OCEAN MARINE

  EQUIPMENT, LLC.

         91.     Upon information and belief, the actions of Defendant, VERONICA C. BARRETT,

  were done independently and/or in the course and scope of her employment with Defendant, BLUE



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  OCEAN TACKLE, INC., and/or its successor-in-interest, Defendant, BLUE OCEAN MARINE

  EQUIPMENT, LLC.

           92.   Defendant, BLUE OCEAN TACKLE, INC., sold, supplied, distributed, marketed,

  packaged, and/or sold the Buoy.

           93.   The Buoy was structurally compromised, had inferior shell thickness, and did not

  have an internal rod backing support, which led to a separating crack that caused the Barge to

  break free from the Buoy during the storm.

           94.   The Buoy failed during a storm event with estimated wind speeds of 43 to 52 knots,

  which should not have been out of the range of the Buoy’s capabilities.

           95.   As a result, the Barge was a total loss.

           96.   Plaintiffs, CERTAIN UNDERWRITERS, have been damaged in the amount of 6.9

  million dollars for the constructive total loss of the Barge, less $15,000 recovered for salvage

  value, and $2,254,517.30 for wreck removal and associated pollution mitigation for a total of

  $9,139,517.30 (Nine Million One Hundred Thirty-Nine Thousand Five Hundred Seventeen

  Dollars and Thirty Cents).

           WHEREFORE, Plaintiffs, CERTAIN UNDERWRITERS SUBSCRIBING TO POLICY

  NUMBERS        OMH-3484819,        OBR      10014587201,      B5JH85661,      VCF2002512,       and

  AT4769A20MZA, as subrogee of NORTHLINE SEAFOODS LLC, demand judgment against

  Defendant, VERONICA C. BARRETT, in the amount of $9,139,517.30 (Nine Million One

  Hundred Thirty-Nine Thousand Five Hundred Seventeen Dollars and Thirty Cents), plus pre and

  post-judgment interest, and its Court costs, and for all other relief deemed proper and just by this

  Court.




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                                       COUNT VI- FRAUD
                                   (STEPHANIE C. GUTIERREZ)
                                        (In the Alternative)

         97.     Plaintiffs, CERTAIN UNDERWRITERS, reincorporate and reallege paragraphs 1

  – 44 as though fully set forth herein.

         98.     Defendant, BLUE OCEAN TACKLE, INC., was formed in Florida by Mark Barrett

  in 2016.

         99.     Defendant, VERONICA C. BARRETT, was the spouse of Mark Barrett.

         100.    Unfortunately, upon information and belief, Mark Barrett passed away on or around

  September 14, 2020. See, Exhibit 8.

         101.    On November 17, 2020, Defendant, BLUE OCEAN TACKLE, INC., was

  voluntarily dissolved.

         102.    The Articles of Dissolution state at the bottom before the signature line: “I submit

  this document and affirm that the facts stated herein are true. I am aware that any false information

  submitted in a document to the Department of State constitutes a third degree felony as provided

  for in section 817.155, Florida Statutes.” See, Exhibit 9.

         103.    The Articles of Dissolution for Defendant, BLUE OCEAN TACKLE, INC., was

  electronically signed by Mark Barrett on November 17, 2020. See, Exhibit 9.

         104.    Mark Barrett could not have signed the Articles of Dissolution for Defendant,

  BLUE OCEAN TACKLE, INC., if he was deceased on September 14, 2020.

         105.    No documents were filed with the Secretary of State indicating that an agent or

  executor of Mark Barrett’s estate signed the Articles of Dissolution.

         106.    No documents were filed with the Secretary of State indicating that anyone other

  than Mark Barrett signed the Articles of Dissolution.



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         107.    Upon information and belief, the signature of Mark Barrett on the Articles of

  Dissolution was fraudulent.

         108.    Upon information and belief, Defendant, STEPHANIE C. GUTIERREZ, signed

  the Articles of Dissolution and/or had knowledge that the signature on the Articles of Dissolution

  was fraudulent.

         109.    Upon information and belief, Defendant, VERONICA C. BARRETT, distributed

  the assets of Defendant, BLUE OCEAN TACKLE, INC., and formed its successor-in-interest,

  Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC.

         110.    Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, is the successor-in-

  interest to Defendant, BLUE OCEAN TACKLE, INC., by virtue of being a mere continuation

  after the death of Mark Barrett, and through the purchase and/or acquisition of the assets of

  Defendant, BLUE OCEAN TACKLE, INC., by Defendant, BLUE OCEAN MARINE

  EQUIPMENT, LLC.

         111.    On or about April 8, 2021, Defendant, STEPHANIE GUTIERREZ, was listed as

  the EVP of Defendant, BLUE OCEAN MARINE EQUIPMENT LLC, and on the company’s

  annual report for 2022.

         112.    Upon information and belief, the actions of Defendant, STEPHANIE C.

  GUTIERREZ, were done independently and/or in the course and scope of her employment with

  Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, the successor-in-interest to Defendant,

  BLUE OCEAN TACKLE, INC.

         113.    Defendant, BLUE OCEAN TACKLE, INC., sold, supplied, distributed, marketed,

  packaged, and/or sold the Buoy.

         114.    The Buoy was structurally compromised, had inferior shell thickness, and did not



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  have an internal rod backing support, which led to a separating crack that caused the Barge to

  break free from the Buoy during the storm.

           115.   The Buoy failed during a storm event with estimated wind speeds of 43 to 52 knots,

  which should not have been out of the range of the Buoy’s capabilities.

           116.   As a result, the Barge was a total loss.

           117.   Plaintiffs, CERTAIN UNDERWRITERS, have been damaged in the amount of 6.9

  million dollars for the constructive total loss of the Barge, less $15,000 recovered for salvage

  value, and $2,254,517.30 for wreck removal and associated pollution mitigation for a total of

  $9,139,517.30 (Nine Million One Hundred Thirty-Nine Thousand Five Hundred Seventeen

  Dollars and Thirty Cents).

           WHEREFORE, Plaintiffs, CERTAIN UNDERWRITERS SUBSCRIBING TO POLICY

  NUMBERS         OMH-3484819,        OBR      10014587201,     B5JH85661,      VCF2002512,       and

  AT4769A20MZA, as subrogee of NORTHLINE SEAFOODS LLC, demand judgment against

  Defendant, STEPHANIE C. GUTIERREZ, in the amount of $9,139,517.30 (Nine Million One

  Hundred Thirty-Nine Thousand Five Hundred Seventeen Dollars and Thirty Cents), plus pre and

  post-judgment interest, and its Court costs, and for all other relief deemed proper and just by this

  Court.

                             COUNT VII – FRAUD AFTER-THE-FACT
                                 (STEPHANIE C. GUTIERREZ)

           118.   Plaintiffs, CERTAIN UNDERWRITERS, reincorporate and reallege paragraphs 1

  – 44 as though fully set forth herein.

           119.   Defendant, BLUE OCEAN TACKLE, INC., was formed in Florida by Mark Barrett

  in 2016.

           120.   Defendant, VERONICA C. BARRETT, was the spouse of Mark Barrett.

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         121.    Unfortunately, upon information and belief, Mark Barrett passed away on or around

  September 14, 2020. See, Exhibit 8.

         122.    On November 17, 2020, Defendant, BLUE OCEAN TACKLE, INC., was

  voluntarily dissolved.

         123.    The Articles of Dissolution state at the bottom before the signature line: “I submit

  this document and affirm that the facts stated herein are true. I am aware that any false information

  submitted in a document to the Department of State constitutes a third degree felony as provided

  for in section 817.155, Florida Statutes.” See, Exhibit 9.

         124.    The Articles of Dissolution for Defendant, BLUE OCEAN TACKLE, INC., was

  electronically signed by Mark Barrett on November 17, 2020. See, Exhibit 9.

         125.    Mark Barrett could not have signed the Articles of Dissolution for Defendant,

  BLUE OCEAN TACKLE, INC., if he was deceased on September 14, 2020.

         126.    No documents were filed with the Secretary of State indicating that an agent or

  executor of Mark Barrett’s estate signed the Articles of Dissolution.

         127.    No documents were filed with the Secretary of State indicating that anyone other

  than Mark Barrett signed the Articles of Dissolution.

         128.    Upon information and belief, the signature of Mark Barrett on the Articles of

  Dissolution was fraudulent.

         129.    Upon information and belief, Defendant, STEPHANIE C. GUTIERREZ, had

  knowledge that the signature on the Articles of Dissolution was fraudulent after-the-fact.

         130.    Upon information and belief, Defendant, VERONICA C. BARRETT, distributed

  the assets of Defendant, BLUE OCEAN TACKLE, INC., and formed its successor-in-interest,

  Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC.



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         131.   Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, is the successor-in-

  interest to Defendant, BLUE OCEAN TACKLE, INC., by virtue of being a mere continuation

  after the death of Mark Barrett, and through the purchase and/or acquisition of the assets of

  Defendant, BLUE OCEAN TACKLE, INC., by Defendant, BLUE OCEAN MARINE

  EQUIPMENT, LLC.

         132.   On or about April 8, 2021, Defendant, STEPHANIE C. GUTIERREZ, was listed

  as the EVP of Defendant, BLUE OCEAN MARINE EQUIPMENT LLC, and on the company’s

  annual report for 2022.

         133.   Upon information and belief, the actions of Defendant, STEPHANIE C.

  GUTIERREZ, were done independently and/or in the course and scope of her employment with

  Defendant, BLUE OCEAN MARINE EQUIPMENT, LLC, the successor-in-interest of Defendant,

  BLUE OCEAN TACKLE, INC.

         134.   Defendant, BLUE OCEAN TACKLE, INC., sold, supplied, distributed, marketed,

  packaged, and/or sold the Buoy.

         135.   The Buoy was structurally compromised, had inferior shell thickness, and did not

  have an internal rod backing support, which led to a separating crack that caused the Barge to

  break free from the Buoy during the storm.

         136.   The Buoy failed during a storm event with estimated wind speeds of 43 to 52 knots,

  which should not have been out of the range of the Buoy’s capabilities.

         137.   As a result, the Barge was a total loss.

         138.   Plaintiffs, CERTAIN UNDERWRITERS, have been damaged in the amount of 6.9

  million dollars for the constructive total loss of the Barge, less $15,000 recovered for salvage

  value, and $2,254,517.30 for wreck removal and associated pollution mitigation for a total of



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  $9,139,517.30 (Nine Million One Hundred Thirty-Nine Thousand Five Hundred Seventeen

  Dollars and Thirty Cents).

           WHEREFORE, Plaintiffs, CERTAIN UNDERWRITERS SUBSCRIBING TO POLICY

  NUMBERS        OMH-3484819,        OBR      10014587201,      B5JH85661,      VCF2002512,       and

  AT4769A20MZA, as subrogee of NORTHLINE SEAFOODS LLC, demand judgment against

  Defendant, STEPHANIE C. GUTIERREZ, in the amount of $9,139,517.30 (Nine Million One

  Hundred Thirty-Nine Thousand Five Hundred Seventeen Dollars and Thirty Cents), plus pre and

  post-judgment interest, and its Court costs, and for all other relief deemed proper and just by this

  Court.

                                   DEMAND FOR JURY TRIAL

           Plaintiffs, CERTAIN UNDERWRITERS SUBSCRIBING TO POLICY NUMBERS

  OMH-3484819, OBR 10014587201, B5JH85661, VCF2002512, and AT4769A20MZA, as

  subrogee of NORTHLINE SEAFOODS LLC, demand a jury trial on all issues so triable.

                                        Respectfully submitted,

                                        MCLEOD BROCK LAW, PLLC



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                                        SUBSCRIBING TO POLICY NUMBERS OMH-
                                        3484819, OBR 10014587201, B5JH85661, VCF2002512,
                                        and AT4769A20MZA, as subrogee of NORTHLINE
                                        SEAFOODS LLC



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